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          16
                 Attorneys for Defendant DOORDASH, INC.
          17

          18
                                                UNITED STATES DISTRICT COURT
          19
                                             NORTHERN DISTRICT OF CALIFORNIA
          20
                                                     SAN FRANCISCO DIVISION
          21

          22
                 PAUL TAYLOR, an individual, in his             CASE NO.
          23     individual and representative capacity,
                                                                DECLARATION OF THEANE EVANGELIS
          24                           Plaintiff,               IN SUPPORT OF DEFENDANT’S NOTICE
                                                                OF REMOVAL
          25            v.
          26     DOORDASH, INC., and DOES 1 through 10,
                 inclusive,
          27
                                       Defendants.
          28

Gibson, Dunn &
Crutcher LLP

                      DECLARATION OF THEANE EVANGELIS IN SUPPORT OF DEFENDANT’S NOTICE OF REMOVAL
                      Case 4:18-cv-03723-PJH Document 1-2 Filed 06/22/18 Page 2 of 71


            1                               DECLARATION OF THEANE EVANGELIS
            2           I, Theane Evangelis, certify and declare as follows:
            3           1.      I am an attorney admitted to practice law before this Court and all of the Courts of the
            4    State of California. I am a partner at the law firm of Gibson, Dunn & Crutcher LLP, counsel of record
            5    for Defendant DoorDash, Inc. (“DoorDash” or “Defendant”) in the above-captioned action. I offer this
            6    declaration in support of DoorDash’s Notice of Removal of the instant action from the California
            7    Superior Court, City and County of San Francisco, to the United States District Court for the Northern
            8    District of California. I have personal knowledge of all the facts set forth in this declaration (unless
            9    otherwise noted), and, if called to testify, I could and would competently testify to them.
          10            1.      Attached hereto as Exhibit A is a true and correct copy of the Docket Sheet in Case No.
          11     CGC-18-566714.
          12            2.      Attached hereto as Exhibit B is a true and correct copy of the Summons served on
          13     DoorDash on May 24, 2018.
          14            3.      Attached hereto as Exhibit C is a true and correct copy of the Complaint, served on
          15     DoorDash on May 24, 2018.
          16            4.      Attached hereto as Exhibit D is a true and correct copy of the Civil Case Cover Sheet,
          17     filed by Plaintiff in the Superior Court, City and County of San Francisco, on May 22, 2018.
          18            5.      Attached hereto as Exhibit E is a true and correct copy of the May 29, 2018 Proof of
          19     Service of Process of the Summons and Complaint of the above-captioned action.
          20            6.      Attached hereto as Exhibit F is a true and correct copy of the Application for Complex
          21     Case Designation, filed by Plaintiff in the Superior Court, City and County of San Francisco, on June
          22     7, 2018.
          23            7.      Attached hereto as Exhibit G is a true and correct copy of Plaintiff’s Notice to the Labor
          24     and Workforce Development Agency, served on DoorDash on May 25, 2018.
          25            8.      In accordance with 28 U.S.C. § 1446(a), Exhibits A through G include “all process,
          26     pleadings and orders served upon” the Defendant in this action.
          27

          28

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Crutcher LLP

                      DECLARATION OF THEANE EVANGELIS IN SUPPORT OF DEFENDANT’S NOTICE OF REMOVAL
                      Case 4:18-cv-03723-PJH Document 1-2 Filed 06/22/18 Page 3 of 71


            1           I declare under penalty of perjury under the laws of the United States that the foregoing is true
            2    and correct, and that this declaration was executed on this 22nd day of June, 2018, in Los Angeles,
            3    California.
            4

            5                                                                 /s/ Theane Evangelis
                                                                                Theane Evangelis
            6

            7                                                 Attorney for Defendant DOORDASH, INC.
            8

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Gibson, Dunn &
Crutcher LLP                                                       3
                      DECLARATION OF THEANE EVANGELIS IN SUPPORT OF DEFENDANT’S NOTICE OF REMOVAL
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           EXHIBIT A
6/22/2018                                                     Case Info
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                                                                                                                                                 Contact Us




                                                                Case Number: CGC18566714
                                                      Title: PAUL TAYLOR VS. DOORDASH, INC. ET AL
                                                    Cause of Action: OTHER NON EXEMPT COMPLAINTS
                                                                    Generated: 2018-06-22 0:59 am

                                   Register of Actions    Parties      Attorneys       Calendar       Payments        Documents
                                          Please Note: The "View" document links on this web page are valid until 1:09:48 am
         After that, please refresh your web browser. (by pressing Command +R for Mac, pressing F5 for Windows or clicking the refresh button on your web
                                                                              browser)



                                                                  Register of Actions

     Show 10       entries                                                                                                 Search:

        Date              Proceedings                                                                                            Document        Fee


      2018-06-13         PROOF OF SERVICE FOR APPLICATION FOR COMPLEX CASE DESIGNATION AND DECLARATION OF ALLEN                View
                         GRAVES IN SUPPORT OF APPLICATION FOR COMPLEX CASE DESIGNATION (TRANSACTION ID # 62136845)
                         FILED BY PLAINTIFF TAYLOR, PAUL AN INDIVIDUAL IN HIS INDIVIDUAL AND REPRESENTATIVE CAPACITY

      2018-06-07         DECLARATION OF ALLEN GRAVES IN SUPPORT OF APPLICATION FOR COMPLEX CASE DESIGNATION                    View
                         (TRANSACTION ID # 62115470) FILED BY PLAINTIFF TAYLOR, PAUL AN INDIVIDUAL IN HIS INDIVIDUAL AND
                         REPRESENTATIVE CAPACITY

      2018-06-07         APPLICATION FOR APPROVAL OF COMPLEX LITIGATION DESIGNATION (TRANSACTION ID # 62115470) FILED BY       View                     $60.00
                         PLAINTIFF TAYLOR, PAUL AN INDIVIDUAL IN HIS INDIVIDUAL AND REPRESENTATIVE CAPACITY

      2018-05-29         SUMMONS ON COMPLAINT (TRANSACTION ID # 62075697), PROOF OF SERVICE ONLY, FILED BY PLAINTIFF           View
                         TAYLOR, PAUL AN INDIVIDUAL IN HIS INDIVIDUAL AND REPRESENTATIVE CAPACITY SERVED MAY-24-2018,
                         PERSONAL SERVICE AS TO DEFENDANT DOORDASH, INC.

      2018-05-22         JURY FEES DEPOSITED BY PLAINTIFF TAYLOR, PAUL AN INDIVIDUAL IN HIS INDIVIDUAL AND REPRESENTATIVE                              $150.00
                         CAPACITY

      2018-05-22         NOTICE TO PLAINTIFF                                                                                   View

      2018-05-22         OTHER NON EXEMPT COMPLAINTS, COMPLAINT FILED BY PLAINTIFF TAYLOR, PAUL AN INDIVIDUAL IN HIS           View                  $1450.00
                         INDIVIDUAL AND REPRESENTATIVE CAPACITY AS TO DEFENDANT DOORDASH, INC. DOES 1 TO 10 INCLUSIVE
                         SUMMONS ISSUED, JUDICIAL COUNCIL CIVIL CASE COVER SHEET FILED CASE MANAGEMENT CONFERENCE
                         SCHEDULED FOR OCT-24-2018 PROOF OF SERVICE DUE ON JUL-23-2018 CASE MANAGEMENT STATEMENT DUE
                         ON OCT-01-2018 COMPLEX LITIGATION ASSIGNMENT REQUESTED BY FILING PARTIES; FEE INCLUDED IN
                         FILING FEE

     Showing 1 to 7 of 7 entries                                                                                                      Previous   1       Next




https://webapps.sftc.org/ci/CaseInfo.dll?CaseNum=CGC18566714&SessionID=B7157CE6BA6694866E69F25C344687EFB4C1B75B                                                  1/1
Case 4:18-cv-03723-PJH Document 1-2 Filed 06/22/18 Page 6 of 71




            EXHIBIT B
                    Case 4:18-cv-03723-PJH Document 1-2 Filed 06/22/18 Page 7 of 71

                                                   0                                                          0                                  SUM-100
                                          SUMMONS                                                                       FOR COURT USE ONLY
                                                                                                                     {SOLO PARA USO DE LA CORTE}
                                 (CITACION JUDICIAL)
NOTICE TO DEFENDANT:
(A VISO AL DEMAND.ADO):
DoorDash, Inc., and DOES 1 through 10, inclusive

YOU ARE BEING SUED BY PLAINTIFF:
(LO ESTA DEMANDANDO EL DEMANDANTE):
 Paul Taylor, an individual, in his individual and representative capacity

 NOTICE! You have been sued. The court may decide against you without your being heard unless you respond within 30 days. Read the infonnation
 below.
    You have 30 CALENDAR DAYS after this summons and legal papers are served on you to file a written response at this court and have a copy
 served on the plaintiff. A letter or phone call will not protect you. Your written response must be in proper legal form If you want the court to hear your
 case. There may be a court form that you can use for your response. You can find these court forms and more information at the Califcmia Courts
 Ontine setf...Help Center (www.courtinfo.ca.gov/selfhelp), your county law library, or the courthouse nearest you. If you cannot pay the filing fee, ask
 the court cleri< for a fee waiver fonn. If you do not file your response on time, you may lose the case by default, and your wages, money, and property
 may be taken without further warning from the court.
     There are other legal requirements. You may want to call an attorney right away. If you do not know an attorney, you may want to call an attorney
 referral service. If you cannot afford an attorney, you may be eligible for free legal servioes .from a nonprofit legal services program. You can locate
 these nonprofit groups at the Galifomia.Legal Services Web site (www.lawhelpcallfomia.org}, the California Courts Online Self.Help Center
 (www.courtinto.ca.govtselrhelp), or by contacting your local court or county bar assoeiation. NOTE: The court has a statutory lien for waived fees and
 costs on any settlement or arbitration award of $10,000 or more in a civil case. The court's lien must be paid before the court wiU dismiss the case.
 ;AVISO! Lohan demandado. Si no responde dentro de 30 dlas. Ja carte puede decidir en su contra sin escuchar su versiOn. Lea Ja informacion a
 continuacion.
    Tiene 30 DIAS DE CALENDARIO despu& de que le ent,eguen esta c/tacion y papeles 18ga/es para presentar una respuesta par escrito en esta
 carte y hacer que se ent,egue una cop/a al demandante. Una carta o una Hamada telef6nica no lo protegen. Su respuesta par flSCfltr) tiene que ester
 en formato legal correcto sf desee que procesen su case en la corte Es posible que haya un formulario que usted pueda usar para su respuesta.
 Puede encontrar estos formularios de la carte y mas intormacion en et Centro de Ayuda de las Cortes de catlfomia (WwW.sucorte.ca.gov), en la
 biblioteca de /eyes de su condado o en le corte que le quede mas cerca. Si no puede pagar ta cuota de presentacion, pida al secretario de la corte
 que le d6 un formulatio de exenci6n de pago de cuotas. Si no presenta su respuesta a tiempo, puede perder el caso por lncumplimientc y ta corte le
 podril quita, su sueldo, dinero y bienes sin mas adverlencia.
   Hey otrDs requisltos legates. Es recomendable que flame a un abogado inmediatamente. Si no conoce a un abogado, puede llsmar a un servlcio de
 remisl6n a abogados. Si no puede pagar a un abogado, es posible que cumpla con /os requisitos para obtsner servicios legales gratuitos d$ un
 programs de sefllicios legeles sin fines de /ucro. Puede encontrar estos grupos sin lines de tucro en el sitio web de Csllfomia Legal Services,
 {WWW.lawhelpcallfomia.org). en el Centro de Ayucta de las Cortes de CalifOmia, (WwW.sucorte.ca.gov) o par,iendose en contacto con la oorte<> el
 coleglo de abogados Joca/es. AV/SO: Porley, la corte tiene derecho a rec/amar las cuotas y /os costos exentos par imponer un-gravamen sobre
 cualquiar recuperacion de $10,000 6 mas de valor recibida mediante un acuerdo o una concesion de arbitraje en un caso de derecho cMJ. T,ene que
 pager el gravamen de la cone antes de que la corte pueda desechar el caso.

The name and address of the court is:
(El nombre y direcci6n de la carte es):       Civic Center Courthouse
400 McAllister Street
San Francisco, CA 94102
The name, address, and telephone number of plaintiff's attorney, or plaintiff without an attorney, is:
(El nombre, la direccion y el numero de telefono del abogado de/ demandante, o de/ demandante que no tiene abogado, es):
Jacqueline Treu; The Graves Finn; 122 N. Baldwin Ave., Main Floor, Sierra Madre, CA 91024; 626-240-0575
                                                                              Clerk, by                                                            , Deputy
                                                                                          .   ~                                                    (Adjunto)
(For proof of service of this summons, use Proof of Service of summons (form POS.()10).)
(Para prueba de entrega de esta citation use el formulario Proof of Service of Summons, (POS-010)).
                                  NOTICE TO THE PERSON SERVED: You are served
                                  1.      D
                                          as an individual defendant.
                                  2.      D
                                          as the person sued under the fictitious name of (specify):


                                     3.   [ZJ   on   behalf of (specify): DoorDash, Inc., and DOES I through 10, inclusive
                                          under:   [2J CCP 416.10 (corporation)                           0       CCP 416.60 (minor)
                                                   D     CCP 41620 (defunct corporation)                  D       CCP 416.70 (conservatee)
                                                   D     COP 416.40 (association or partnership}          D       CCP 416.90 (authorized person)
                                                   CJ    other (specify):
                                     4.   D     by personal delivery on (date):

                                                                      SUMM0'9 RIG If'J ~                           t [1~
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            EXHIBIT C
              Case 4:18-cv-03723-PJH Document 1-2 Filed 06/22/18 Page 9 of 71
                                  0                                      0
          1   THE GRAVES FIRM
              ALLEN GRAVES (SB#204580)
          2
              allen@gravesfirm.com
          3   JACQUELINE TREU (SB#24 7927)
              jacqueline@gravesfirm.com
          4   JENNY YU (SB#253033)
              E-mail: jennyyu@gravesfirm.com
                                                                           FILED
                                                                           San FranClsc<>CQunty Super/or Court
          5
              122 N. Baldwin Ave., Main Floor
          6                                                                       MAY 2 2 2018

                                                                          ~:~RT
              Sierra Madre, CA 91024
              Telephone: (626) 240-0575
          7
              Facsimile: (626) 737-7013
          8                                                                                       Deputy Clelf(
              Attorneys for Plain.tiff
          9   Paul Taylor
         10
                              SUPERIOR COURT OF THE STATE OF CALIFORNIA
         11
                                             COUNTY OF SAN FRANCISCO
         12
         13   Paul Taylor, an individual, in his        CASE NO.:     CGC-18-56 6714
              individual and representative capacity,
         14                                             CLASS ACTION COMPLAINT FOR:
                                Plaintiff,
         15                                              1.   Failure to Pay Overtime Wages;
                     v.                                 2. Failure to Timely Pay Wages;
         16
              DoorDash, Inc., and DOES 1 through        3. Failure to Pay Wages on Termination;
         17
              10, inclusive,                            4. Failure to Provide an Accurate Itemized
  __J 18                                                   Paystub;
                                Defendants.
  <(     19                                             5. Failure to Reimburse Business Expenses;

  -::z
 (!) 21
         20
                                                           and
                                                        6. Violation of Business and Professions
                                                           Code §17200 et seq.
 0:::.   22
 C)                                                     DEMAND FOR JURY TRIAL.
         23
         24
(0)      25
l!!!!]   26

~        27

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~                                        COMPLAINT AND DEMAND FOR JURY TRIAL
     Case 4:18-cv-03723-PJH Document 1-2 Filed 06/22/18 Page 10 of 71
                          0                                           0
 1          Plaintiff Paul Taylor ("Plaintiff') alleges as follows:
 2
 3                                        INTRODUCTION
 4          1.     In this Complaint, Plaintiff uses the term "Driver" to refer to individuals
 5   employed by Defendant DoorDash, Inc. ("DoorDash" or "Defendant"), whose primary
 6   job duties consist of delivering food to customers as part of the food delivery service that
 7   is DoorDash' s primary business.
 8          2.     Plaintiff brings this Complaint as a class action pursuant to California Code
 9   of Civil Procedure §382. The class is defined as follows: each individual whom
10   DoorDash has employed as a Driver in California at any time since the date four years
11   prior to the filing of the instant case and whom DoorDash has classified as an independent
12   contractor. Putative class members are referred to herein as "Drivers."
13
14                                         THE PARTIES
15          3.     Plaintiff Paul Taylor ("Taylor" or "Plaintiff') is a citizen of the United
16   States and a resident of Los Angeles County, California. From a time beginning prior to
17   the filing of the instant complaint and continuing to the present day, DoorDash has
18   employed Taylor as a food delivery driver as part of the food delivery service that is
19   DoorDash' s primary business.
20          4.     Defendant DoorDash is a corporation organized under the laws of the State
21   of Delaware with its principal place of business in San Francisco, California.
22          5.     Plaintiff is currently unaware of the true names and capacities of the
23   Defendants sued herein as Does 1 through 10 (the "Doe Defendants") and therefore sues
24   the Doe Defendants by such fictitious names. Plaintiff will amend this Complaint to
25   allege the true names and capacities of the Doe Defendants when they are ascertained.
26          6.     Plaintiff is informed and believes, and thereon alleges, that the Doe
27   Defendants are the partners, agents, or principals and co-conspirators of the named
28   Defendants and of each other; that the named Defendants and the Doe Defendants
                                                -2-
                              COMPLAINT AND DEMAND FOR JURY TRIAL
     Case 4:18-cv-03723-PJH Document 1-2 Filed 06/22/18 Page 11 of 71
                          0                                         0
 1   performed the acts and conduct herein alleged directly, aided and abetted the performance
 2   thereof, or knowingly acquiesced in, ratified, and accepted the benefits of such acts and
 3   conduct, and therefore each of the Doe Defendants is liable to Plaintiff to the extent of the
 4   liability of the named Defendants as alleged herein.
 5          7.     Plaintiff is informed and believes, and on that basis alleges, that at all times
 6   herein mentioned, all of the Defendants are and were a single employer.
 7          8.     Plaintiff is informed and believes, and on that basis alleges, that at all times
 8   herein mentioned, each of the Defendants was the agent, servant and/or employee of each
 9   of the other Defendants and, in connection with the matters hereinafter alleged, was acting
10   within the scope of such agency and employment, and each Defendant ratified each and
11   every act, omission and thing done by each and every other Defendant herein.
12

13                                JURISDICTION AND VENUE
14          9.     This Court has jurisdiction in this action because: Defendants committed
15   violations of California law, including violations of the Wage Order, Labor Code and
16   Business and Professions Code, that affected Plaintiff in this county; because one or more
17   Defendants reside in this jurisdiction; and because service was effected on one or more
18   Defendants while voluntarily present in California
19          10.    Venue is proper under California Code of Civil Procedure §395.5, as this is
20   a county where liability against Defendants arises.
21
22                                   COMMON ALLEGATIONS
23          11.    Plaintiff realleges and incorporates herein by this reference the allegations
24   of Paragraphs 1 through 10 hereof, inclusive.
25          12.    DoorDash is a company whose primary business is delivering food directly
26   to its customers. Customers access DoorDash's service through an application installed
27   on the customers' cell phone.
28
                                                   -3-
                              COMPLAINT AND DEMAND FOR JURY TRIAL
     Case 4:18-cv-03723-PJH Document 1-2 Filed 06/22/18 Page 12 of 71
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 1          13.    DoorDash employs Drivers throughout the state of California. Drivers pick
 2   up the food ordered by the customer, and then deliver the food directly to the customer.
 3   The work performed by Drivers is within the usual course ofDoorDash's business.
 4          14.    At all times relevant hereto, DoorDash has engaged, suffered or permitted
 5   the Drivers to work for DoorDash.
 6          15.    At all times relevant hereto, DoorDash has maintained a uniform policy of
 7   classifying all Drivers as independent contractors rather than employees.
 8          16.    Plaintiff is informed and believes, and thereon alleges, that DoorDash's
 9   misclassification of Drivers as independent contractors is willful and done in order to
10   deprive the Drivers of benefits due them, and to gain an economic advantage, with the full
11   knowledge that the law requires the Drivers to be classified as employees.
12
13                                 FIRST CAUSE OF ACTION
14                             (Failure to Pay Overtime Premiums)
15          17.    Plaintiff realleges and incorporates herein by this reference the allegations
16   of paragraphs 1 through 16 hereof, inclusive.
17          18.     At all times relevant hereto, Paragraph 3 of the applicable Wage Order and
18   California Labor Code §510 have required that DoorDash pay each of its Drivers one and
19   a half his or her regular rate of pay for any work in excess of 8 hours in one workday, in
20   excess of 40 hours in one workweek, and for the first 8 hours of work on the seventh day
21   of a workweek.
22          19.     DoorDash has a uniform policy of intentionally failing to pay the overtime
23   premiums due to its Drivers for overtime work.
24
25                               SECOND CAUSE OF ACTION
26                                (Failure to Timely Pay Wages)
27         20.     Plaintiff realleges and incorporates herein by this reference the allegations
28   of paragraphs 1 through 19 hereof, inclusive.
                                                  -4-
                             COMPLAINT AND DEMAND FOR JURY TRIAL
_,,
      __________________________.....                  _________________
            Case 4:18-cv-03723-PJH Document 1-2 Filed 06/22/18 Page 13 of 71
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        1          21.     At all times relevant hereto, California Labor Code §204 requires that all
        2   wages are due and payable twice in each calendar month.
        3          22.    DoorDash violated Labor Code §204 by systematically refusing to pay
        4   overtime premium wages due to Drivers under the Wage Order.
        5
        6                                 THIRD CAUSE OF ACTION
        7                            (Failure to Pay Wages on Termination)
        8          23.     Plaintiff realleges and incorporates herein by this reference the allegations
        9   of paragraphs 1 through 22 hereof, inclusive.
       10          24.     Labor Code §§201 and 202 require that DoorDash pay each Driver all of
       11   the wages earned by that employee at the time of termination for an involuntary
       12   termination and within 72 hours of termination for a voluntary termination.
       13          25.    At all times relevant hereto, DoorDash has terminated Drivers who were
       14   entitled to overtime wages earned under the applicable Wage Order at the time that the
       15   Drivers' employment with ended.
       16          26.    At all times relevant hereto, Drivers who were entitled to overtime wages
       17   earned under the applicable Wage Order have voluntarily quit their jobs.
       18          27.    DoorDash maintains a policy and practice of willfully refusing to pay any
       19   Driver the overtime wages to which he or she is entitled under the Wage Order at any time
       20   after that Driver's termination or resignation.
       21
       22                                FOURTH CAUSE OF ACTION
       23                      (Failure to Provide an Accurate Itemized Paystub)
       24          28.    Plaintiff realleges and incorporates herein by this reference the allegations
       25   of Paragraphs 1 through 27 hereof, inclusive.
       26          29.    At all times relevant hereto, Paragraph 7 of the applicable Wage Order has
       27   required that every employer shall semimonthly, or at the time of each payment of wages,
       28   furnish each employee an itemized statement in writing showing: (1) all deductions;
                                                      -5-
                                     COMPLAINT AND DEMAND FOR JURY TRIAL
     Case 4:18-cv-03723-PJH Document 1-2 Filed 06/22/18 Page 14 of 71
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 1   (2) the inclusive dates of the period for which the employee is paid; (3) the name of the
 2   employee or the employee's social security number; and (4) the name of the employer.
 3          30.     California Labor Code §226(a) requires that each pay period DoorDash
 4   must provide each Driver with an itemized statement as required by the Wage Order.
 5          31.     At all times relevant hereto, DoorDash violated the Wage Order and Labor
 6   Code §226(a) by failing to provide Drivers with any itemized statement at all.
 7

 8                                  FIFfH CAUSE OF ACTION
 9                (Failure to Provide Equipment or Reimburse Business Expenses)
10          32.     Plaintiff realleges and incorporates herein by this reference the allegations
11   of paragraphs 1 through 31 hereof, inclusive.
12          33.     At all times relevant hereto, Paragraphs 8 and 9 of the applicable Wage
13   Order have required that an employer provide its employees with any tools or equipment
14   that are required by the employer or are necessary to the performance of the job.
15          34.     DoorDash requires every Driver to use a cellular telephone or tablet device
16   with a wireless data connection in order to send and receive information regarding the
17   pickup, transportation and drop-off of food to DoorDash's customers.
18          35.     DoorDash requires every Driver to use a motor vehicle in order to deliver
19   food to its customers.
20          36.     During all times relevant hereto, DoorDash maintained a uniform policy of
21   refusing to provide cellular telephones, tablet devices, or motor vehicles to Drivers,
22   despite the fact that this equipment is both required by Drivers and necessary to the
23   performance of the job.
24          37.      During all times relevant hereto, DoorDash maintained a uniform policy of
25   refusing to reimburse Drivers for the cost of cellular telephones, tablet devices, wireless
26   data connections or motor vehicles, despite the fact that this equipment is both required by
27   DoorDash and necessary to the performance of the job.
28
                                                   -6-
                               COMPLAINT AND DEMAND FOR JURY TRIAL
--   --·----------------------------------------
          Case 4:18-cv-03723-PJH Document 1-2 Filed 06/22/18 Page 15 of 71
                               0                                         0
      1                                  SIXTH CAUSE OF ACTION
      2                 (Violation of Business and Professions Code §17200 et seq.)
      3          38.    Plaintiff realleges and incorporates herein by this reference the allegations
      4   of Paragraphs 1 through 37 hereof, inclusive.
      5          39.    The conduct described in the First through Fifth causes of action constitute
      6   unfair business practices.
      7          40.    By deliberately misclassifying its Drivers as independent contractors,
      8   DoorDash avoided substantial expenses and thereby enriched itself at the expense of the
      9   Drivers.
     10          41.    The Drivers have suffered injury in fact as a result ofDoorDash's
     11   aforementioned conduct, in the form of lost income and benefits, and privileges of
     12   employment.
     13

     14                                CLASS ACTION ALLEGATIONS
     15          42.    Plaintiff realleges and incorporates herein by this reference the allegations
     16   of Paragraphs 1 through 41 hereof, inclusive.
     17          43.    Plaintiff is informed and believes, and thereon alleges, that DoorDash
     18   employs over 10,000 Drivers in California
     19          44.    Plaintiff is informed and believes, and thereon alleges, that DoorDash
     20   requires all Drivers in California to agree to an identical form contract in order to work for
     21   Door Dash. The company revises the contract from time to time, but at any given time,
     22   the contract is identical with regard to all Drivers in California.
     23          45.    Plaintiff is informed and believes, and thereon alleges, that all Drivers in
     24   California have been subject to DoorDash's violations of the Wage Order and California
     25   Business and Professions Code § 17200 et seq.
     26          46.    Plaintiff is informed and believes, and thereon alleges, that Plaintiff has
     27   been subject to the exact same violations of the Wage Order and California Business and
     28   Professions Code described herein as all other Drivers.
                                                         -7-
                                   COMPLAINT AND DEMAND FOR JURY TRIAL
     Case 4:18-cv-03723-PJH Document 1-2 Filed 06/22/18 Page 16 of 71
                             0                                         0
 1            47.      Plaintiff has agreed to fairly and adequately represent the rights of the class.
 2            48.      Plaintiff has the means to fairly and adequately represent the rights of the
 3   class.
 4            49.      Plaintiff is informed and believes, and thereon alleges, that his claims are
 5   typical of the class.
 6            50.      Plaintiff is informed and believes, and thereon alleges, that common
 7   questions of law and fact predominate with regard to all class claims.
 8            51.      Plaintiff is informed and believes, and thereon alleges, that a class action is
 9   superior to all other available means of resolving the class members' claims.
10            52.      Plaintiff is informed and believes, and thereon alleges, that treatment of the
11   instant claims as a class action will accrue substantial benefits to the litigants, the class,
12   the public, and the courts.
13

14                                        PRAYER FOR RELIEF
15            WHEREFORE, Plaintiff prays for judgment against Defendant Maplebear, Inc. dba
16   DoorDash, and Does 1 through 10, inclusive, and each of them, as follows:
17
18   ON THE FIRST CAUSE OF ACTION:
19            1. For temporary, preliminary and permanent injunctive relief against Defendants'
20                  ongoing violations of the Wage Order;

21            2. For damages according to proof;
22            3. For restitution of unpaid wages;
23            4. For attorney fees and costs reasonably incurred, in accordance with Labor Code
24                  §§218.5, 1194 and California Code of Civil Procedure §1021.5;
25            5. For interest pursuant to Labor Code §§218.5 and 1194, and Civil Code §3287;
26                  and
27            6. For punitive damages.
28
                                                       -8-
                                  COMPLAINT AND DEMAND FOR JURY TRIAL
     Case 4:18-cv-03723-PJH Document 1-2 Filed 06/22/18 Page 17 of 71
                       0                                       0
 1   ON THE SECOND CAUSE OF ACTION:
 2        1. For temporary, preliminary and permanent injunctive relief against Defendants'
 3           ongoing violations of the Wage Order;
 4        2. For the penalties described in Labor Code §210 for all violations set forth by
 5           this cause of action;
 6        3. For attorney fees and costs reasonably incurred, in accordance with Labor Code
 7           §§218.5 and California Code of Civil Procedure §1021.5;
 8        4. For interest pursuant to Labor Code §§218.5,1194, and Civil Code §3287; and
 9        5. For punitive damages.
10

11   ON THE THIRD CAUSE OF ACTION:
12        1. For temporary, preliminary and permanent injunctive relief against Defendants'
13           ongoing violations of the Wage Order;
14        2. For waiting time penalties pursuant to Labor Code §203;
15        3. For attorney fees and costs reasonably incurred, in accordance with Labor Code
16           §§218.5 and 1194, and California Code of Civil Procedure §1021.5;
17        4. For interest pursuant to Labor Code §§218.5 and 1194, and Civil Code §3287;
18           and
19        5. For punitive damages.
20

21   ON THE FOURTH CAUSE OF ACTION:
22        1. For temporary, preliminary and permanent injunctive relief against Defendants'
23           ongoing violations of the Wage Order;
24        2. For penalties pursuant to Labor Code §226(e); and
25        3. For attorney fees and costs reasonably incurred, in accordance with Labor Code
26           §226(e) and California Code of Civil Procedure §1021.5;
27        4. For interest pursuant to Civil Code §3287; and
28        5. For punitive damages.
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                           COMPLAINT AND DEMAND FOR JURY TRIAL
     Case 4:18-cv-03723-PJH Document 1-2 Filed 06/22/18 Page 18 of 71
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 1   ON THE FIFTH CAUSE OF ACTION:
 2        1. For temporary, preliminary and permanent injunctive relief against Defendants'
 3           ongoing violations of the Wage Order;
 4        2. For damages according to proof;
 5        3. For restitution of all expenses associated with tools or equipment that were
 6           required by DoorDash or necessary to performance of the Drivers' work for
 7           DoorDash;
 8        4. For attorney fees and costs reasonably incurred, in accordance with Labor Code
 9           §§2802(c) and California Code of Civil Procedure §1021.5;
10        5. For interest pursuant to Civil Code §3287; and
11        6. For punitive damages.
12
13   ON THE SIXTH CAUSE OF ACTION:
14        1. For temporary, preliminary and permanent injunctive relief against Defendants'

15           ongoing violations of the Labor Code as described herein;
16        2. For disgorgement of Defendants' ill-gotten gains and other relief that may be
17           necessary t-0 remedy Defendants' misconduct;
18        3. For restitution of payments unlawfully withheld;
19        4. For attorney fees and costs reasonably incurred pursuant to California Code of
20           Civil Procedure §1021.5; and
21        5. For interest pursuant to Civil Code §3287.
22
23   ON ALL CAUSES OF ACTION:
24        1. For costs of suit, to the extent not otherwise prayed for above;
25        2. For attorney fees to the extent not otherwise prayed for above;
26        3. For interest on amounts recoverable; and
27        4. For such other and further relief as this Court deems just and proper.
28
                                               -10-
                           COMPLAINT AND DEMAND FOR JURY TRIAL
     Case 4:18-cv-03723-PJH Document 1-2 Filed 06/22/18 Page 19 of 71
                     0                                    0
 1   DATED: May 22, 2018
 2
 3
                                                   JACQUELINE TREU
 4                                         mey for Plaintiff
                                        aul Taylor
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                         COMPLAINT AND DEMAND FOR JURY TRIAL
     Case 4:18-cv-03723-PJH Document 1-2 Filed 06/22/18 Page 20 of 71
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 1                              DEMAND FOR JURY TRIAL
 2        Plaintiff hereby demands a jury trial.
 3

 4   DATED: May 22, 2018
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                            COMPLAINT AND DEMAND FOR JURY TRIAL
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            EXHIBIT D
                       Case 4:18-cv-03723-PJH Document 1-2 Filed 06/22/18 Page 22 of 71

                                                            0                                                                           0                                                      CM4l10
   ATTORNEY OR PARTY WITHOUT ATTORNEY (Name. Stele Bar number. end atktteUJ:                                                                             FOR COURT USE ONLY
    Allen Graves (SB#204580)
    Jacqueline Treu (SB#247927)
    122 N. Baldwin Ave., Main Floor
    Sierra Madre, CA 91024
           TELEPHONENO.        (626) 240-0575                       FAXNO.    (626) 737-7013
                                                                                                                                               FILED
                                                                                                                                              San Francisco County Superior Court
   ATTORNEY FOR (Name)         Plaintiff Paul Taylor
   UPERIOR COURT OF CALIFORNIA, COUNTY OF          San Francisco
          STREET ADDREss:      400 McAllister Street                                                                                                        MAY 2 2 2018
          MAILING   ADDREss:   400 McAllister Street
       c1rv AND 21P coDE:      San Francisco,<. CA 94102
             BRANCH NAME:      Civic Center Lourthouse
    CASE NAME:
    Tavlor v. DoorDash, Inc.
        CIVIL CASE COVER SHEET                                         Complex Case Designation                                   CASE NCUMBQE~           -18 - S
 [Z]     Unlimited       Limited  D                               D     Counter             D
                                                                                        Jolnder                                                     IV
           (Amount          (Amount                                                       JUDGE:
           demanded         demanded is          Filed with first appearance by defendant
           exceeds $25,000) $25,000 or less)          (Cal. Rules of Court, rule 3.402)    DEPT
                                Items 1-6 below must be completed see instructions on page 2).
 1. Check one box below for the case type that best describes this case:
     Auto Tort                                                  Contract                                              Provisionally Complex Civil Litigation
              Auto (22)                                         DD    Breach of contract/warranty (06)                (Cal. Rules of Court, rules 3.400-3.403)
              Uninsured motorist (46)                                 Rule 3.740 collections (09)                    D          Antitrust/Trade regulation (03)
     Other Pl/PD/WO (Personal lnjuryfProperty                   OD    other collections (09)                         D          Construction defect ( 10)
     Daf111lfle1Wrongtul Death) Tort                                  Insurance coverage (18)                        D          Mass tort (40)
     D        Asbestos (04)                                     D Other contract (37)                                D
                                                                                                                     D           Securities litigation (28)
     D        Product liability (24)                            Real Property                                                    Environmental/Toxic tort (30)
     D        Medical malpractice (45)                          D Eminent domain/Inverse                             D          Insurance coverage claims arising from the
     D        Other PI/PDIWD (23)                                     condemnation (14)                                         above listed provisionally complex case
      Non.Pl/PD/WO (other) Tort                                 D Wrongful eviction (33)                                        types (41)

     D        Business tort/unfair business practice (07)       D Other real property (26)                            Enforcement of Judgment
     D        Civil rights (08)                                 Unlawful Detainer                                    D          Enforcement of judgment (20)
     D        Defamation (13)                                   D Commercial (31)                                    Miscellaneous Civil Complaint
              Fraud (16)                                        D Residential (32)                                   D          RIC0(27)
              Intellectual property (19)                        D     Drugs (38)                                     D          Other complaint (not specified above) (42)
              Professional negligence (25)                      Judicial Review                                      Miscellaneous Civil Petition
     D Other non-Pl/PD/WO tort (35)                             D     Asset forfeiture (05)                          D          Partnership and corporate governance (21)
     Employment                                                 D     Petition re: arbitration award (11)
                                                                                                                     0          Other petition (not specified above) (43)
     D Wrongful termination (36)                                D     Writ of mandate (02)
     W Other employment (15)                                          Other    dicial review {39)
2. This case         ls          is not    complex under rule 3.400 of the California Rules of Court. If the case is complex, mark the
   factors requiring exceptional judicial management
     a.   D         Large number of separately represented parties                 d.   0    Large number of witnesses
     b.   [ZJ       Extensive motion practice raising difficult or novel           e.   D    Coordination with related actions pending in one or more courts
                    issues that will be time-consuming to resolve                            in other counties, states, or countries, or in a federal court
     c.   [ZJ       Substantial amount of documentary evidence                     f.   D    Substantial postjudgment judicial supervision

3. Remedies sought (check all that apply): a.[L] monetary b. [lJ nonmonetary; declaratory or injunctive relief                                                                  c. [ZJ punitive
4. Number of causes of action (specify): Six
s. This case         isw               D
                                is not a c1ass action suit.
                                                                                                                                                                /'/
6. If there are any known related cases, file and serve a notice of related case. ( Y ~ u
Date:      5/22/2018                                                                                     /           /
                                  Jacqueline Treu                                                        ·
                                  (l'VPE ORPRINT fllAMf:J                                   L----:,l(,"""=67.,,.~'.TUR=E""OF::-:-::::P-:-:AR::T:::-Y=OR""A-:-.:rr::::,o"'R""N""EY"°F"'o"'Rc::Pc.-.M'TY=):------
                                                                                NOTICE
  • Plaintiff must file this cover sheet with the first paper filed in the act.la   p~lng (except small claims cases or cases filed
    under the Probate Code, Family Code, or Welfare and Institutions              ). {Cat. Rules of Court, rule 3.220.) Failure to file may result
    in sanctions.
  • File this cover sheet in addition to any cover sheet required by local court rule.
  • If this case is complex under rule 3.400 et seq. of the California Rules of Court, you must serve a copy of this cover sheet on all
    other parties to the action or proceeding.
  • Unless this is a collections case under rule 3. 740 or a complex case, this cover sheet will be used for statistical purposes ont .
Form Adopted for Mandatory Use                                  CIVIL CASE COVER SHEET                                                ca1 Ru1esotCot.rt.r
  Judicial Councll of caNlornia
   CM-010 [Rev July 1, 2007]


                                                                                        ORIGINAL~-
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                                                                                                                                                    CM-010
                                                INSTRUCTIONS ON HOW TO COMPLETE THE COVER SHEET
  To Plaintiffs and Others Filing First Papers. If you are filing a first paper {for example, a complaint) in a civil case, you must
  complete and file, along with your first paper, the Civil Case Cover Sheet contained on page 1. This information will be used to compile
  statistics about the types and numbers of cases filed. You must complete items 1 through 6 on the sheet. In item 1, you must check
  one box for the case type that best describes the case. If the case fits both a general and a more specific type of case listed in item 1,
  check the more specific one. If the case has multiple causes of action, check the box that best indicates the primary cause of action.
 To assist you in completing the sheet, examples of the cases that belong under each case type in item 1 are provided below. A cover
  sheet must be filed only with your initial paper. Failure to file a cover sheet with the first paper filed in a civil case may subject a party,
  its counsel, or both to sanctions under rules 2.30 and 3.220 of the California Rules of Court.
 To Parties in Rule 3.740 Collections Cases. A "collections case" under rule 3.740 is defined as an action for recovery of money
 owed in a sum stated to be certain that is not more than $25,000, exclusive of interest and attorney's fees, arising from a transaction in
 which property, services, or money was acquired on credit. A collections case does not include an action seeking the following: (1) tort
 damages, (2) punitive damages, (3) recovery of real property, (4) recovery of personal property, or (5) a prejudgment writ of
 attachment. The identification of a case as a rule 3.740 collections case on this form means that it will be exempt from the general
 time-for-service requirements and case management rules, unless a defendant files a responsive pleading. A rule 3.740 collections
 case will be subject to the requirements for service and obtaining a judgment in rule 3.740.
 To Parties In Complex Cases. In complex cases only, parties must also use the Civil Case Cover Sheet to designate whether the
 case is complex. If a plaintiff believes the case is complex under rule 3.400 of the California Rules of Court, this must be indicated by
 completing the appropriate boxes in items 1 and 2. If a plaintiff designates a case as complex, the cover sheet must be served with the
 complaint on all parties to the action. A defendant may file and serve no later than the time of its first appearance a joinder in the
 plaintiffs designation, a counter-designation that the case is not complex, or, if the plaintiff has made no designation, a designation that
 the case is complex.                                       CASE TYPES AND EXAMPLES
 Auto Tort                                              Contract                                           Provisionally Complex Civil Litigation (Cal.
     Auto (22)--Personal l11ury/Property                   Breach of Contract/Warranty (06)                Rules of Court Rules 3.400-3.403)
         Damage/Wrongful Death                                 Breach of Rental/Lease                           Antitrust/Trade Regulation (03)
     Uninsured Motorist (46} {If the                               Contract (not unlewfl.ll detainer            Construelion Defect (10)
            case invo/vtls.811 uninsured                                 or wrongfUI ftllictkm)                 Claims Involving Mass Tort (40)
         motDrlst claim subject to                               ContractM'arranty Breach-Seller                Securlties Litigation (28}
         arbitration, check this .Item                              Plaintiff (not fraud or nagli(Jence)        Environmentat/Toxic Tort (30)
         instea(fofAuto)                                         Negligent Breach~ ContraeV                     Insurance Coverage Claims
 other PUPD/Wll (Pen.onal lnjuo,/                                    Warranty                                       (arising from provisionally complex
 Property OamageJWnmgful Death)                                  Other Breach of Contract/Warranty                  case type listed above} (41)
 Tort                                                        Collecllon.s. (e.g., money owed, open          Enforcement of Judgment
        Asbestos.{04)                                            book accounts) {09)                           Enforcement of Judgment (20)
            Asbestos Property Damage                             COiiection caae-se11et Plaintiff                   Abstract of JIJdOmern (OUt of
            Asbestos Personal 11'1Ju!YI                          Other Promissor)' Nt>te/CollectiOns                    Col.lntY)
                   Wrongful Death                                    Case                                           Confes&ion of Judgment (non-
      Product Liability (llOt asbestos or                   IMUrance Coverage (not provisionaliy                         domestic relations)
         toidclenwanmental) (24)                               ~ ) {18)                                             Sister State Judgment
      Medical Malpractice (45)                                 Auto Sl.lbrOgalion                                   Administrative Agency Award
         Medical Malpractice-                                   Other Coverage                                         (not unpaid taxes)
                   Physicians &.Surgeons                   Other Contract (37)                                      Petltlon/Certlfication of Entry of
            Other Professional Health Care                     Ccnltaelual Fraud                                       Judgment on Unpaid Taxes
                 Malpractice                                   Other Contract Dispute                               Other Enfon:::ement of Judgment
        other Pl/PO/WO .~)                              Real Property                                                   case
           Premises Llablfity (e.g., slip                   Emimmt Domain/lnvenie                           Miscellaneous Civil Complaint
                 anc!fall)                                     Condemnation {14)                                RJC0{27)
            Intentional Bodily lnJury/POIWD                 Wrongful Eviction (33}                              other Complaint (not specified
              (e.g., assault, vandalism)                    Other Real Property {e.g., quiet title) {26)            &bGVeJ (42)
         Intentional Infliction of                             Writ of Possession of Real Property                  Declaratory Re!ief Only
                                                                                                                    lnjuncti\le Relief Only (non-
              Emotional Distress                               Mortgage Foreclosure
                                                                                                                         harassment)
         Negligent Infliction of                               Quiet Title
              Emotional Distress                               Other Real Properly (not eminent                     Mechanics Lien
        Other PI/PDIWD                                         domain, / ~ a n t , or
                                                                                                                    other Commercial Complaint
Non-Pl/PD/WO (other} Tort                                      foreclosure)
                                                                                                                        case { n o ~ e x }
                                                                                                                    Other Civil Complaint
   Business Tort/Unfair Business                        Unlawful Detainer                                              (non-tort/non-complex)
       Practice (07)                                       Commercial (31)
                                                                                                            Miscellaneous Civil Petition
   Civii Right& (e.g., discrimination,                     Residential (34)                                    Partnership and Corporate
           falsnm,st) tnot civR                             Drugs (38)llf the ca• involilwlllega/                   aovamanoe   (21)
           halUSll'litnt) (08)                                   drilQs, cheok this Item: otherwise,            Other Petition {not specified
      Defainatlo1ia(e41.,    si.nc1er, libel)                   .report as ·aommerr;n,J or Residential)            above) (43)
            (i3)                                        Judicial Review                                             Civil Harassment
      Fraud {16)                                            Asset Forfeiture (05)                                   Workplace Violence
      in1eUectual.Property (19)                             Petition Re: Arbitration Award (11)                     Eldertc>ependent Adult
      Professional Negligence (25)                         Writ of Mandate (02)                                          Abuse
          Legal Malpractice                                     Writ-Administrative Mandamus                        Election Contest
          Other Professional Malpractice                        Writ-Mandamus on Limited Court                      Petition for Name Change
               (not medical or legal)                              Case Matter                                      Petition for Relief From Late
   Other Non-Pl/PD/WO Tort (35)                                 Writ-Other Limited Court Case                            Claim
Employment                                                         Review                                           Other Civil Petition
   Wrongful Te,mmation (36)                                 Other Judicial Review (39)
   Other Employment (15)                                        Review of Health Officer Order
                                                               Notice of Appeal-Labor
                                                                   Commlsaloner Appeals
CM-010 (Rev. July 1, 2007)                                                                                                                          Pqelo12
                                                            CIVIL CASE COVER SHEET
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